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Exhibit 6

 

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f (crr/asgp)nrvw.r?)igrscr,at) "““_` , 'LF:ACA§:LC}
NorlcE ro DEFENDANT: Sti_i,te'ilttr tittrt¥t r)t blitiirrrrrtrr
(A vrso AL DEMANDADo): C.m’""y "H"W"' A"B"""F
MORTGAGE ELECIRONIC REGISTRATION SYSTEMS, rNC.; dry ;r rr guilt

ADD`ITIONAL PARTIES ATTACHMENT FORM IS ATTACHED

Sh‘»)». ':'4'1'.." , |l_ 1"'¢)“\"
You ARE eEiNo squ ev PLA\NT\FF: wm (é'“‘»'{“*`»‘i“\i$u?iu…e O…"WLM`

 

 

(Lo Esr/i DEMANDANDO EL oEMANDANrE).- ' ' ` Bl~_~__'té?~)_'. b.,....`/_`t';,w. equity
t eve rozco
ROBINSON, DANIEL W.; ROBINSON, DARLA J.; CABRERA,
MIGUEL A.
NOTlCEl You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Road the information
below.

You have 30 CALENDAR DAYS alter this summons and legal papers are served on you to ute a wr|tton response at this court and have a copy
served on the plaintilf. A letter or phone call will not.protect you. Your written response must be in proper legal form it you want the court to hear your
case There may be a court form that you can use for your response You can lind these court lorms and more information at the Catifornia Courts
Online Seli~Help Center (twvw.courilnlo.ca.gov/sellhelp), your county law llorary. or the courthouse nearest you. lfyou cannot pay the hling tee, ask
the court clerk for a fee waiver form. lt you do not me your response on time, you may lose the case by detault, and your wages. money, and property
may be taken without further warning from the court.

There are other legal requtrements. You may want to call an attorney n`ght away. lf you do not know an attorney. you may want to call an attorney
referral service ll you cannot afford an attomey. you may be eligible for tree legal services from a nonprofit legal services program. You can locate
these nonprofit groups at the Calilomia Legal Services Web site (www.lawhe/pcalilornia.org), the Ca£ifornia Courts Online Seli-l-lelp Canter
. (www.courtlnfo.ca.gov/sellhelp), or by contacan your local court or county bar associationl NOTE: The court has a statutory lien for waived fees and
costs on any settlement or arbitration award of $10,000 or more in a civil oase, The court’s lien must be paid before the court will dismiss the case.

l rAVlSOl Lo hart demandado, Si no responde denim de 30 dias, la corie puede dec/dir en su contra sin escuchar su version. Lea la informaclon a
\ conlinuacidn. 4

llano 30 DIAS DE CALENDARIO dospués de quo lo entreguen asia citaclén y pape/es logales para presanlar una respuesla por osc/ito en esla
corle yhecer quo se entraqu una copia al demandanle. Urra carla o una llamada telefonlca no lo prolagen. Su rsspuesta por oscrilo liene quo aslar
en lormalo legal correcto si desea que pmcesen su paso en la corie. Es posible qua haya un lormulario quo usled pueda user para su respuesla.
Puede encontrar estes lonnularios de la corle y mas lnformaclén en el Centro de Ayuda de las Cortes do Calliornia (wnm,sucorto.ca.gov). en la
_ blblr`oleca de leyes de su condado o en la oorla que le quedo més cerca. SI no puodo pagar la cuola de presenlacion, pida al socretario de Ia.corio
que le dé un lormulario da exenclén de page de cuolas. Si no prasonla su respuesla a liempo, puado perdar ol case por incumplimr`enlo y la cone la
pool/a quilar su sue/do, dlnero y blenes sin mas adverioncia.

Hay olros requisites legales. Es recomendable qua llame a un abogado lnmediatamenle. Si no conoco a un abogado, puede llamar a un sorvicio de
remlsién a abogados. Si no puodo pagar a un abogado, as posib/e qua sump/a con los requisilos para oblener servicios legatee gratuitos de un
pmgrama de serviclos logalos sin lines de lucro. Puade enoontrar oslos gmpos sr`n fines de Iucro en al silio web de Californr'a Legal Servr`ces,
(wm~.lawhelpcallfornla.org), en el Centro de Ayuda de las Gortos da Calilornr`a, (www,suoorte.ca`gov) o.poniéndosa an contaclo con la code 0 el
colegio de abogados locales. AV/.SO.' Porley, la carte liens derecho a rec/amer las cuolas y los coslos exenlos por imponer un gravamen sobro
cualquler recuperacidn de $10, 000 o mas de valor recibr’da medianle un acuerdo o bna concesion de arbitran an un caso do derecho civil. Tr`ene quo

pagar el gravamen de la code anles de que la corte pueda desechar el caso.

 

 
 

 

The name and address of the court ls: cAsF_NuuBER; :'

(El nomer y direcr:ion de la corle es): SUPERIOR COURT OF CALlFORNIA mde d°'C”‘°)§.` `_" ». ` ,

COUNTY OF LOS ANGELES - NORTH VALLEY DISTRICT `
, Chatsworth Cout“chouse: 9425 Peudf`tled Avet, Chatsworth, CA 91311

The name, address.‘and telephone number of plaintiffs attomey, or plaintiff without an attorney, is:

 

 

 

  
    
   

(El nombre_, la direccldn y el numero de leléfono del abogado delidemandanle, o del oernandante que no tie/te ogado es):

; Law Off`tccs: West & Assoc‘s: 'ZOO N Paclfic Const Hwy #201, Redondo Beaoh,§§a 9@3,1,77 ' 3¢" .374.4141

‘ . §-‘Aj_;.~,‘. fm ;-'~,. <=r.-;~x.;t w - ..d

‘ DATE: uCT 3 0 zmg §hen-I R Car.te. Clerk, by d " DéEUW`\
(Fecha) ` L *' (Secretario)r fig .‘.§._Utr~;“,,§u, \ '

 

 

§ (For proof of service of this surnmons,,use Proof of Service of Summons (form POS-DlO). ' '~ ~ ~
§ (Para prueba de entrega de esta citation use el formular/`o Proof of Service of Summons, (POS~G'l 0)). ,`... __ .~‘.»~i _' _; ~f
` ‘ NoncE To rita PERsoN sERon; You are served o "' %;VEN G'-” ` ”' ` 3

 

1. t::] as an individual defendant s
2r l:_'_] as the person sued under the fictitious name of (sper:ify):

3_1:¥;] on behairdr(specrry): \V\Q('l%¢iqe S\t,C/`lfonl<- RQ?!\B`)"%°'J S\PW|M'

under: [.?:l CCP 416.10 (corporallon) l:l CCF’ 416.60 (minor)
|:] CCP 416.20 (defunct corporation) [:] CCP 416.70 (conservatee)
|:] CCP 416.40 (association or partnership) E:l CCP 416,90 (authorized person)

~ [:] other (specify).'
4. by personal delivery on (date): 2 )20` 1 01

   

 

 

 

 

Page 1 of 1
Form Adoprad rm mandatory usa c lot ‘ d ‘ i'z
Judicial Cound el Calllornla SUMMONS ada o m Pm:€y\:fc?)?n?'nlo.z:a;:i

suit-too (Rev.rury 1.20091 Exhibit 6 ~ Page 166

 

 

 

 

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sum-zoo(A)

 

SHORT TlTLE: 4 cAse Numaea:
__ Robinson, et al. vs. Mortgage Electronic Registration Systems, lno

 

 

 

 

|NSTRUCTlONS FOR USE

+ This form may be used as an attachment to any summons if space does not permit the listing of all parties on the summons.
+ lf this attachment is used, insert the following statement tn the plaintiff or defendant box on the summons: "Additlonal Panles
Attachment form ls attached."

Llst additional parties (Check only one box. Use a separate page for each type of pariy.):

|:] Plainttff Defendant E] Cross~Complainant \:| Cross~Defendant
ADDITIONAL PARTIES ATTACI‘MENT TO SUMMONS 1

(not MERSCORP HOLDINGS, INC. a separate and distinct unrelated entity);
UNITED PACIFIC MORTGAGE, a California General Partnership;
UNIVERSAL AMERICAN MORTGAGE COMPANY OF CALIFORNIA,
a California Corporation; and Does 1-25

 

Page 1 of 1

 

 

Page 1 ot 1
F Adop( dlorM ndato U
°'J’l‘]‘didam;unc“ ofcn,`m;’m.a‘° ADDtTlONAL FART|ES ATTACHMENT
sum-zoolA)taw. mary 1. 2001; Attachment to Summons

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700 NPacifIc Coast Hwy #201 ‘ , . t ,
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310.374.4141 »310.372.4137
WestandAssocdatesl@}GMalLCom Sh€rt‘t K. ( llll§_¢¢ § xi;m mw imm ,[./(\!wk
Arrom@y zorptarn¢m{s): l L-...,..__N,,,\,q;_"__ hamm
(Roblnson, Danlel W.; Rabinson, Darta J.; » sl€\'€ Urozco
Cabrera, MiguslA.)
SUPERIDR CQURT 0F THE STA TE. 0F CALIFGRN/A
COUNTIY DF LOS ANGEI.ES - NORTH VALLEY DISTRICT
“Chatsworth Courthouse”
R(')BlNSON, DAN [EL VV.; ) GASE# *"` a “ 0 2
ROBINS(_)N, DARLA ].; CABRERA, §
MIC’UMJ /`~ ) coMPLAINT
) for
Pl' . £. H.(S) l DECLARA TORYJUDGMENT/RELIEF
‘““ 1 ‘ ' l 11 A Judi¢.-ia/ determination and
W ) declaration that Morfgage Electrcnic
` § Registration $ystems, lnc. (“MERS”)
) is pot a true or actual ”Beneficiary”
M(_)er~(';AGl"; E|lJFCTR()NIC ) anders needaf rra$t, and therefore
tnecls't"R/\TION sYs't‘l;Ms, INC.; not ) f/OES ”°" hold =""W "'9"*$1 "'”_e w
Mnnscc)RP H<)Lanc;S, 1Nc. a wmata '"‘@’E$' '° *‘"~‘-‘ P’°P“-"“Y 5”"/€¢* '~‘°
and distinct unrelated cntit'.y); UNl'l`l".D ) the Deef’( of nyse ` . d .
PAC!FIC M ()R'l‘<; A<; 1>:, a california l 21 A J"d'¢'a' deferm""afw” and
Gcncml l’:u'tnership; [.]NIVERSAL § declaration that M°rtgage' Elect"’”ic
AML:RICAN M<)RTGAGE COMPANY ) Res/"s¢‘fa¢i°" Sysfems, '"¢» /"MERS”/
(.')F CALIFORNIA, :\ C:dil`ornia ) is flat 3 true or actual “Nominee” or
Cm~.por;ltign; ) “Agent” under a Deed of Trust, and
and Dncs 1325 ) therefore does hci hold any rights,
) title ar inferész' ib‘{he property
) subject to the bead of Trust
Dcl`endanl.(s). )
J'VA TUR£' OFJUDIUML RELILFSOUGHT
Plztintil't`s Daniel W` Rot)insc)n; Darla`]. Rol_)ins<)n (1tet"ei11ztl‘;te1‘ referred tons
“Rol)insons”); Miguel A. Cal)rera (hereinat`ter referred to as “Cal)rera”) l)y Way (,)l`
instant action eXclusi\/ely Seek a decision and ruling ol" two very specil`tc judicial

 

 

 

. 1 . b
COMPLAINT FOR DECLARATORY JUDGMENT/RELIEF

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“Declaratory Judgments” and or “Reliel” and noting more at this time, but do
reserve any and all further relief which may be aHorded to them as a result ol` instant

action, or any other frivolous actions which may exist under the laws ot` the Statc of

Califomia and the Unitcd Statcs.

The specific relief sought are as follows:

1 " REUUESTFDK DECLARA TURYJUDGMElVT/RELIEF.‘

A]udicrl?l detemunan'on and declaran'on that Morz;gnge Electronrc Regrsuutron
Systems, lnc. dzcrez'nalier referred to as “MERS’”) and not “AHIRS`CORP
HOLDINGS§ INC. ’j a separate and distinct unrelated cnn`ty, ls nota true or acmal
”Bcneficrnry” under the “Rohrnsons " or ”Cahreru ”Decd of Tmst (or an y other
snnrlnr Dccd of Tr'usd even though ins misrepresented and rrnpmpcr]y stated and
therefore "MERS"’ does not hold an y rights udc or interest to die rclan'Vc property
subject to the Deed ofTrust’;

2'” R£'OUESTFUR DECLAMT()KYJUDMENT/HELIEE‘

A]udr'crlzl dctcnninahon and declaration that Morcgz)gc Elccnonzc
Regrsnanon .S'ystems, lnc. drcrer'nadcr ml%ncd to as “AJERS"’) and not
MRS'CORP HOLDING.S; INC, a separate and chstz'nct Luuelated cnn`ty, is ncta
mrc or actual ”Nonzlncc or ‘ngnt” under the ‘§Robr'nsons” or “C'abrcr:a” Dccd of
Trust (or any other sr'mrlar Dccd of Trus£) even though ills misrepresented and
improperly statcd, and therefore “MER§'” does not hold anyrighls, title or urterest
to the re]un've property subject to the Dccd of Trustj'

ND`I'ICE OF RELA'I'ED AC'I'IONS

l) As to the “Robinsons”

The “Robinsons” had a previous “Quict Titlc” action which came to its
conclusion case number: LASCC #PCO52281

2) As to “Cabrera”

“Cabrera” had two previous actions, one sounding in “Quiet Tide” and the
second based upon the “Cancellation and Expungement” of certain title instruments

both of which came to their conclusion case number: the first LASCC #KC062236;
the second LASCC #KC0667()1 rcspech`vely.

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. 2 ,
COMPLAINT FOR DECLARATORY JUDGMENT/RELIEF

 

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PAR'I'!ES

3) Plaintill`s the “Robinsons” herein allege, that at all times relevant hereto
that they resided in the County oi`Los Angeles and State oi`Calitomia whose subject
1)rol)e11yis so situated and physically located zu'ul whose Deed oi`Trust is recorded
against, both of which is within this Courts State, County,]udicial District and
jurisdictic;)n;

4) Plaintiii` “Cabrera” herein alleges, that at all times relevant hereto that
he resided in the County of Los Angeles and State of Calii`omia whose subject
property is so situated and physically located :uid whose Deed ol"Trust is recorded
against, both of which is within this Coults State, County, Judicial District and
jurisdiction;

5) Plainlili`s herein allege, that at all times relevant hereto Defendant

“Mor‘tgage Elec)ronrc Regrstranon r$ystems, hrc/j zu'i unknown business entity is
doing business in the State of Calit`omia, in the County of and City where subject
property is so situated and physically located and whose Deeds oi`rl`rusts are
recorded against both of which is within this Courts County and _Iudicial Distiict;

6) Plaintii`t`s herein allege, that at all times relevant hereto Defendant

"United Paciiic Mortgage"; a California Ceneral qutnership doing business in the
State oi`Calit`omia, in the County of and City where subject property is so situated
and physically located and whose Deeds oi"l`rusts are recorded against both ol`
which is within this Couits Cotuity and _ludicial District;

7) Plaintii`t`s herein allege, that at all times relevant hereto Dei`endant

"Univer;salArnerrcan Mor'tgage Cornpan y of Cahiorrlia’; a Calit`omia Corporation
doing business in the State of Calii`oinia, in the County of and City where subject
property is so situated and physically located and whose Deeds ot`Trusts are
recorded against, both of which is within this Courts County and Judicial District;

8) Plaintifi` is unaware oi` the true names and capacities of any individuals

and/Or entities sued herein under the lictitious names Does l to 25, inclusive or, to

 

. 3 .
COMPLAINT FOR DECLARATORY' JU,DGMENT/REL[EF

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8) Plaintiii is unaware of the true names and capacities of any individuals
and/or entities sued herein under the fictitious names Does 1 to 25, inclusive 01‘, to
the extent that the names of such individuals or entities may become known to
Plaintifi, and as such Plaintiii cannot state with any certainty that such a Cause of
Action lies herein as against such individuals or enlities, or Plaintiti` is unable to
allege the elements of such Cause of Action, at this time, and as such said
Defendant(s) are herein named in accordance with the provisions of (Caz Code of civil
Procedure Sec, 474). Plaintit`f thereon reserves the right to amend instant Complaint to
allege the true names and capacities of such iictitiously named Defendant(s) when
the same become known or when it has been ascertained with reasonable certainty
that such Cause of Action hereunder can be satisfactorily stated and maintained as

against each such iictitiously named individual or entity;

GENERAL RLL£GA'I'lONS

9) Possessed and stated within the “Robinsons” and “Cabrera” relevant
Deeds of Trusts currently on title and recorded against their respective real
properties (similar to the millions of other mortgage Deeds of Trusts of homeowners
throughout the United States) are two inappropriate, incorreet, misrepresented and
false provisions (required as a matter of adhesion), the first of which states that
’Mozrga,.¢re E!ectronl?: Rcar'slmnbn .S'ysrems, Inc., (MYE'R$ is the Benefic)lary under
titus secm!`§£ lhstmmen ’. The second is that "Morteagt? E]ec£ronl'c Registration
SVstems, lnc., MR$ is a separate corporation thank aca`ng solely as a Nomzhce
for Lender and Lender’s successors an ass@s”.

10) Both of these statements and representations are incorrect, false and
unnue. It is these two false representations that “MERS” inappropriately relies upon
to incorrectly and from a false position operate and believe that they hold some sort
of right, title and or interests to the real property these very Deeds of Trust relate,
Which they legally and absolutely do not. Not only as to the “Robinsons” and

 

. 4 .
COMPLA]N'I` FOR DECLARA wRY JUD GMENT/RELIEF

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“Cabrera” real property but also all of those millions of other mortgage Deeds of
Trust.

il) Given this, although presented and discussed further herein “MERS”
takes the misplaced and misguided position that they hold some sort of “Bare legal
Title” to these properties which grants or empowers them to act or effectuate

transactions relan`ve to these properties A distorted and fabricated position without
any legal support or authority. v
it CURRENT RND SIGNIFICRNT CONTROYERSY EXlS`l'

12) Currently on title and affecting the relative “Robinsons” and “Cabrera”
real property L»and Records (as well as all of the millions of similarly situated horne
owners throughout the U.S.) are these false and incorrect Deeds of Trusts, which
significantly effect the vendibility, marketability, value and insurability of each and
every on of these parcels of real property;

13) In absence of aJudicial determination and Declaratory]udgment of
Relief this dilemma affecting the current and full extent as to the respective rights,
title and interests of the “Robinsons” and “Cabrera” real property are in opposite, or
stand as opposed to the claim on behalf of “MERS” will continue to exist
unresolved

“MERS” 15 NOT k “BENEF!CIARY”

14) 'l`hat which defines what a “Beneficiary” is in the context of a
residential fmancing mortgage arrangement goes back to the earliest of times without
change, and is unequivocally : 1) an individual or entity that does the actual lending
of the funds or proceeds relative to the subject “Promissory Note”; 2) is this
individual or entity clearly enumerated and stated as the “lender” on the
“Promissory Note”; 3) that this individual or entity is entitled to the agreed upon
payments as outlined within the “Promissory Note”; and lastly 4) that this individual
or entity would be the one who would sustain the loss or harm in the event of a

default. “MERS” fails to qualify as to each and every one of these qualifying required

 

- 5 .
COMPLAINT FOR DECL.ARA 'noRY JUDGMENT/RELIEF

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factors a number of which by their own admission T hey neither lend, are stated on

the Note, receive payments, nor would sustain harm in the event of a default

/ / /
“MERS” lS NO'I' k “NOMINEE"

15) A “Nominee” is nothing more than an agentof another, or of a
principal which only comes into being, and is created by an agency agreement
among and between the Principal and the Agent with very specific and stated terms
and provision outlining with specificity the authority, powers and granted rights,
limited by those rights and power possessed by the Principal.

16) '1`0 begin, it is flawed to argue or contend that two parties, one of which
is not the alleged agent, can create an agency agreement for and on behalf of a third
P?HTY~

17) T he “Robinsons”, “Cabrera” Deeds of Trusts are entered into and
executed by the lender and the “Robinsons”, “Cabrera” as the home owner
borrowers not “MERS”. As such there does not exist any privity of contact involving
“MERS”. This scenario does not create an agency agreement

18) Secondly, there does not exists any sort of Agency Agreement between
the lender and “MERS”, and the contention countlessly put forward by “MERS”
that their membership agreement satisfied as the agency agreement is flawed, without
merit and just outright frivolous

“BARE LEGRL TI'I'LE”

19) W'hen all arguments or contentions on behalf of “MERS” that they are
a “Beneficiary and or “Nominee” fails and or is debunked, they resort to the
fabricated, meritless and self-serving position that they possess “Bare legal title” by
virtue of the stated and enumerated clause of adhesion within subject Deeds of
Trusts. This position has been brought forward and asserted by “MERS” without

any legal authority whatsoever, and is the product of a self-serving argument

 

. 5 .
COMPLAINT POR DECLARA TORY JUDGMENT/RELEF

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l right to prosecute a claiin, but no right to the substantive recovery cannot show that
2 he has a personal stake iii the litigation". By analogy where “MERS” claims to have
3 been granted “Bare legal tile”, if accepted as sur argurnent, the end result would

4 conclude that this grant would not gr:uit any rights, title or interest to the substantive
5 asset which would be the “Robinsons" or “Cabrera” real pr‘operty.

5 21) To conclude “Bare legal title” grants absolutely rio rights title or

7 interests in any real property.

9 srecu~'rc maerarrons asro nra Rosrrrsons

9 . , .
22) ln 2005 the “Robinsons” purchased a residential home and entered

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into a mortgage horne financing arrangement which included the execution of a
11 . ., 1 . r. . . .
Pi'onirssory Note and Deed of lrust, tlie subject of inquiry and the basis of the
12

“Declaratoiy Reliei” sought within this action (see Attachinent “A”)

13 23) rl`lie Prornissoiy Note and Deed oi"l`rust relative to the Robinson

14 Morrgmge financing states as the true and correct lender and beneficiary as "Um'tea'
15 PaczYic Mortgage'”, a California General Paitnership.

16 24) Oi` further significance during the investigation oftliis matter Plaiiitiffs
17 “Rol)insons” were able to secure a declination from the Cl*`iO (Dai“yl Wizelinan) of
18 “United Pacilic Mortgage” one of the senior Parniers of the “Rol)insons” Lender
19 who emphatically stated that “MERS” was neither a “Bene['iciary” or “Noinince

20 Agent” of the lender, nor did this lender have any association with “MERS”. (see

21 Attacliment “B”)

22 25) lt is this “Robinsons” Deed of rl`rust attachment “A” which is the

 

23 subject of inquiry and that of which forms the basis for the relief sought by and

 

24 through instant “Declz atory Reliet” actiori.

25 SPEC]FIC ALLHGA'I'IONS AS 'I'O CABRERA

26 26) Iri 2004 Cabrera purchased a residential home and entered into a
27 mortgage horne financing arrangement which included the execution of a

28 Prornissory7 Note and Deed of’l`iust, the subject of inquiry and die basis of

- 7 -
COMPLAINI‘ FOR DECLARATORY JUDGMENT/RELIEF

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1 the “Declaratoiy Reliel” sought within this action. (see Attachnient “ "’)

2 27) The Proniissoiy Note and Deed of Trust relative to the Cabl'era
3 Mortgage financing states as the true and correct lender and beneficiary as

4 "Um'Versa/Amenban Monfgz)ge Co!npany ofCalz}?)mza”, a Califomia

5 Corporation.

6 28) lt is this “Cabrera” Deed of Trust attachment “ "’ which is the

7 subject ofinquiiy and that of which forms the basis for the relief sought by

8 and through instant “Declaiatory Relief" action.

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i 0 _[S'I‘
F.lRST CAUSE OF ACTION
l l for
DECLARA TORY RELIEF
12 ~ ("MERS" is not a "Benejicz`ary")
l 3 29) Plaintill`s herein incorporates by ret`erence, restates, realleges, and

14 reasserts any and all previously alleged allegations l"acts, and paragraphs (1-28);

15 30) Plaintil`fs herein allege, based upon the factual documents attached

16 hereto and on information and belief that “MERS” is not a “Beneliciaiy” merely

17 because it is stated so within a Deed omest.

18 31) To legally qualify as a L_u_e and actual “Beneliciary” within a mortgage
19 financing arrangement, it is legally required that one must be the individual or entity
20 who actually does the lending of the funds or proceeds relative to a “Prornissoiy

21 Note”, further that this individual or entity is clearly enumerated and stated as the

22 “Lender” on the “Promissory Note”, and that this individual or entity is entitled to
23 the agreed upon payments as outlined within the “Promissory Note”, and lastly that
24 this individual or entity would be the one who would sustain the loss or harm in the
25 event ol`a default “MERS” fails to qualify on each and every one of these qualifying
26 required characteristics a ntunl)er of which by their own admission. "l` hey neither

27 lend, are stated on the Note, receive payinents, nor sustain harm in the event of a

2 3 default

 

. 3 .
COMPLAIN’I` FOR DECLARATORY JUDGMENT/RELIEF

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event of a default “MERS” fails to qualify on each and every one of these qualifying
required characteristics a number of which by their own admission. T hey neither
lend, are stated on the Note, receive payments, nor sustain harm in the event of a
default

32) ` As such it would be within this Court’s jurisdiction to render a
Declaratoryjudgment of Relief, judicially declaring that “MERS” is legally not in fact
a true and actual “Beneficiary”, and further that they do not hold or possess any
rights, title or interest to the real property the subject of instant Deeds of Trusts for
and on behalf of the “Robinsons” and “Cabrera” (as well as all of the other similarly

situated Deeds of 'l`rusts).

2nd
SECOND CAUSE OF ACTION

DECLARA'I{‘();RY RELIEF
(“MERS’ is not a ‘Nominee”)

33) Plaintiffs herein incorporates by reference, restates, realleges, and
reasserts any and all previously alleged allegations, facts, and paragraphs (1-32);

34) Plaintiifs herein allege, based upon the factual documents attached
hereto and on information and belief that “MERS” is not a “Nominee” merely
because it is stated so Within a Deed of Trust

35) To qualify as a “Nominee” an individual or entity must be an agent of
another, or of a principal which agency only comes into being, and is created by an
agency agreement among and between the Principal and the Agent with specific and
stated terms and provisions outlining with specificity the authority, powers and
granted rights, limited by those rights and power possessed by the Principal.

36) To begin, it is flawed to argue or contend that two parties, one of which
is not the alleged agent, can create an agency agreement for and on behalf of a third
party.

37) The “Robinsons”, “Cabrera" (and all similarly situated) Deeds of

 

. 9 -
COMPLAINT FOR DECLARATORY JUDGMENT/RELLEF

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Trusts are entered into and executed by the lender and relative horne owner
borrower not “MERS”. As such there does not exist any privity of contact involving
“MERS”.
This scenario does not create an agency agreement

38) Secondly, there does not exists any sort ongency Agreement between
the Lender and “MERS”.

AS Sooh it would bo noon this courts jurisdiction to render o
Declaratory ]ndgment of Relief, judicially declaring that “MERS” is legally not
in fact a “Nominee” or agent , and further that they do not hold or possess
any rights, title or interest to the real property the subject of instant Deeds of
Trusts for and on behalf of the “Robinsons” and “Cabrera” (as well as all of

the other similarly situated Deeds of Trusts.

PRAY£R
VVHEI\’EFORE; Plaintit`fs the “Robinsons” and “Cabrera” prays this Court

for relief as follows:

A) For a Decree, Order, ]udicial Detcrmination and or Declaratory
Judgrnent that Wolrgage E]ectmm‘c Regz'snatz'on Systems, an. ” is not a true or
actual “Beneficiary” under the “Robinsons” or “Cabrera” Deed of Trust (or any
other similar Deed of Trust) and therefor does not hold any rights, title or interest
to the real property subject to the Deed of Trust;

B) For a Decree, Order,]udicial Determination and or Declaratory
Judgment that “Jllor@age‘ Electmm'c Regzlsaatr'ou Systcms, luc. ” is not is not a true
or actual “Nominee or Agent” under the “Robins_ons” or “Cabrera” Deed of Trust
(or any other similar Deed of Trust) and therefor does not hold any iights, title or
interest to the property subject to the Deed of Trust’.

C) For such additional and further relief as the Court may deem just and
reasonable;

D) For Attorney’s Fees;

 

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COMTLADWTPQRDECLARATORYJUDGMENTHUMJEF

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E) For such reasonable costs of suit.

Dated: _M__%gtlgn'@% 11111111

 

 

Attornay for Ptaintlff(s)
“Daniel W. Robinson, Darla J. Rab{nson
& Mfguel A. Cabrera”

 

 

 

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COMPLAINT FOR DECLARATORY JUDGMENT/RELIEF

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